Case 1:08-cv-00451-RPM Document 128 Filed 07/23/18 USDC Colorado Page 1 of 6



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO
                       Senior District Judge Richard P. Matsch

Date:               July 23, 2018
Courtroom Deputy:   Robert R. Keech
FTR Technician:     Kathy Terasaki


Civil Action No. 08-cv-00451-RPM                Counsel:

TLINGIT-HAIDA REGIONAL HOUSING                  Jonathan K. Tillinghast
AUTHORITY,

      Plaintiff,

v.

UNITED STATES DEPARTMENT OF                     Timothy B. Jafek
HOUSING AND URBAN DEVELOPMENT;
BEN CARSON, Secretary of Housing and
Urban Development;
DEBORAH A. HERNANDEZ, General
Deputy Assistant Secretary for Public and
Indian Housing;
GLENDA GREEN, Director, Office of Grants
Management, Office of Native American
Programs,

      Defendants.




                                            1
Case 1:08-cv-00451-RPM Document 128 Filed 07/23/18 USDC Colorado Page 2 of 6




Civil Action No. 08-cv-00826-RPM                Counsel:

NAVAJO HOUSING AUTHORITY,                       Craig H. Kaufman

       Plaintiff,

v.

UNITED STATES DEPARTMENT OF                     Timothy B. Jafek
HOUSING AND URBAN
DEVELOPMENT;
BEN CARSON, Secretary of Housing and
Urban Development,
DEBORAH A. HERNANDEZ, General
Deputy Assistant Secretary for Public and
Indian Housing,
GLENDA GREEN, Director, Office of
Grants Management, Office of Native
American Programs,

       Defendants.




                                            2
Case 1:08-cv-00451-RPM Document 128 Filed 07/23/18 USDC Colorado Page 3 of 6



Civil Action No. 08-cv-02573-RPM                Counsel:

MODOC LASSEN INDIAN HOUSING                     David V. Heisterkamp, II
AUTHORITY, the tribally designated
housing entity
for the Grindstone Indian Rancheria of
Wintun-Wailaki Indians of California,

       Plaintiff,

v.
UNITED STATES DEPARTMENTOF                      Timothy B. Jafek
HOUSING AND URBAN
DEVELOPMENT;
BEN CARSON, Secretary of Housing and
Urban Development;
DEBORAH A. HERNANDEZ, General
Deputy Assistant Secretary for Public and
Indian Housing;
GLENDA GREEN, Director, Office of
Grants Management, Office of Native
American Programs,

       Defendants.




                                            3
Case 1:08-cv-00451-RPM Document 128 Filed 07/23/18 USDC Colorado Page 4 of 6




Civil Action No. 08-cv-02577-RPM                Counsel:

CHOCTAW NATION OF OKLAHOMA;                     Louis W. Bullock
HOUSING AUTHORITY OF THE
CHOCTAW NATION OF OKLAHOMA,

       Plaintiffs,

v.
UNITED STATES DEPARTMENT OF                     Timothy B. Jafek
HOUSING AND URBAN
DEVELOPMENT;
BEN CARSON, Secretary of Housing and
Urban Development;
DEBORAH A. HERNANDEZ, General
Deputy Assistant Secretary for Public and
Indian Housing;
GLENDA GREEN, Director, Office of
Grants Management, Office of Native
American Programs,

       Defendants.




                                            4
Case 1:08-cv-00451-RPM Document 128 Filed 07/23/18 USDC Colorado Page 5 of 6




Civil Action No. 08-cv-02584-RPM                Counsel:

SICANGU WICOTI AWANYAKAPI                       Blaine D. Myhre
CORPORATION,                                    David V. Heisterkamp, II
OGLALA SIOUX (LAKOTA) HOUSING,
TURTLE MOUNTAIN HOUSING
AUTHORITY,
WINNEBAGO HOUSING AND
DEVELOPMENT COMMISSION,
LOWER BRULE HOUSING
AUTHORITY,
SPIRIT LAKE HOUSING
CORPORATION, and
TRENTON INDIAN HOUSING
AUTHORITY,

      Plaintiffs,

v.

UNITED STATES DEPARTMENT OF                     Timothy B. Jafek
HOUSING AND URBAN
DEVELOPMENT (HUD),
SHAUN DONOVAN, Secretary of Housing
and Urban Development,
DEBORAH A. HERNANDEZ, General
Deputy Assistant Secretary for Public and
Indian Housing, and
GLENDA GREEN, Director, Office of
Grants Management, Office of Native
American Programs,

      Defendants.



                                   COURTROOM MINUTES


MOTION HEARING: Defendants' Motions for Restitution.

9:55 a.m.     Court in session.

              Court calls cases.


                                            5
Case 1:08-cv-00451-RPM Document 128 Filed 07/23/18 USDC Colorado Page 6 of 6



              Appearances of counsel. Also present David Sahli, HUD agency counsel.

              Court’s summation of the issues raised.

              Defendants' Motion for Restitution (Doc. No. 120 in 08-cv-00451-RPM), filed
              May 14, 2018; Defendants' Motion for Restitution (Doc. No. 116 in
              08-cv-00826-RPM), filed May 14, 2018; Defendants' Motion for Restitution
              (Doc. No. 105 in 08-cv-02573-RPM), filed May 14, 2018; Defendants' Motion for
              Restitution (Doc. No. 115 in 08-cv-02577-RPM), filed May 14, 2018; and
              Defendants’ Motion for Restitution (Doc. No. 122 in 08-cv-02584-RPM), filed
              May 14, 2018; are raised for argument.

9:57 a.m.     Argument for Defendant by Mr. Jafek.

10:17 a.m.    Argument for Plaintiffs by Mr. Kaufman.

10:33 a.m.    Argument for Plaintiffs by Mr. Bullock.

10:36 a.m.    Argument for Defendants by Mr. Jafek.

ORDERED: Defendants' Motion for Restitution (Doc. No. 120 in 08-cv-00451-RPM), filed
         May 14, 2018, is SUBMITTED.

ORDERED: Defendants' Motion for Restitution (Doc. No. 116 in 08-cv-00826-RPM), filed
         May 14, 2018, is SUBMITTED.

ORDERED: Defendants' Motion for Restitution (Doc. No. 105 in 08-cv-02573-RPM), filed
         May 14, 2018, is SUBMITTED.

ORDERED: Defendants' Motion for Restitution (Doc. No. 115 in 08-cv-02577-RPM), filed
         May 14, 2018, is SUBMITTED.

ORDERED: Defendants' Motion for Restitution (Doc. No. 122 in 08-cv-02584-RPM), filed
         May 14, 2018, is SUBMITTED.

              Court indicates a written order shall follow.

10:40 a.m.    Court in recess. Hearing concluded.
Total time:   45 minutes.




                                                6
